           Case 2:06-cr-00390-WBS Document 100 Filed 02/06/08 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   ROBERT M. TWISS
     Assistant United States Attorneys
 3   501 I Street, 10th Floor
     Sacramento, California 95814
 4   Telephone: (916) 554-2767
 5
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )      CR. No. S-06-390 EJG
                                   )
12                   Plaintiff,    )      STIPULATION AND ORDER
               v.                  )
13                                 )
                                   )
14   TERRY TONG,                   )
                                   )
15                    Defendant.   )
     ______________________________)
16
17         The defendant, through his undersigned counsel, and the
18   United States, through its undersigned counsel, agree and
19   stipulate that the hearing for imposition of judgment and
20   sentence currently scheduled for Friday, February 8, 2008 should
21   be continued until Friday, May 9, 2008.       The delay is necessary
22   to complete matters necessary for sentencing.
23   Dated: February 5, 2008
24                                      McGREGOR W. SCOTT
                                        United States Attorney
25
                                          /s/ Robert M. Twiss
26                                   By:_______________________
                                        ROBERT M. TWISS
27                                      Assistant U.S. Attorney
28   ///
          Case 2:06-cr-00390-WBS Document 100 Filed 02/06/08 Page 2 of 2


 1   Dated: February 5, 2008
 2                                      TERRY TONG
                                        Defendant
 3
 4                                          /s/ Robert M. Twiss for
 5                                    By:________________________
                                         ANTHONY BRASS
 6                                     Counsel for Defendant
 7
 8                            ORDER
 9        IT IS SO ORDERED.    This matter is continued until 10:00 a.m.
10   on Friday, May 9, 2008 for imposition of judgment and sentence.
11   Dated: February 5, 2008
                                                /s/ Edward J. Garcia
12                                              EDWARD J. GARCIA
                                                Senior U.S. District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                        2
